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                                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                                           SOUTHERN DIVISION
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                                                                                                 CANON INC., a Japanese corporation,       Case No. 2:21-CV-02074-JVS-PVC
              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                                         Plaintiff,
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




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                                                                                                                   v.                      [PROPOSED] DEFAULT
                                                                             310-229-9900




                                                                                            14                                             JUDGMENT AND PERMANENT
                                                                                                 MITOCOLOR INC., a California              INJUNCTION
                                                                                            15   corporation
                                                                                            16                           Defendant.        Date:      September 13, 2021
                                                                                                                                           Time:      10:00 a.m.
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                                                                                                                                           Courtroom: 10C
                                                                                            18                                             Judge:     Hon. James V. Selna
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                                                                                                             [PROPOSED] DEFAULT JUDGMENT AND PERMANENT INJUNCTION
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                                                                                             1          Upon consideration of Plaintiff Canon Inc.’s (“Canon”) motion for entry of
                                                                                             2   default judgment and issuance of a permanent injunction, any opposition thereto,
                                                                                             3   and the entire record in this matter, and pursuant to Federal Rule of Civil
                                                                                             4   Procedure 55(b)(2) and 35 U.S.C. § 283, it is hereby:
                                                                                             5          ORDERED that Canon’s motion is GRANTED;
                                                                                             6          ORDERED that default judgment is entered in favor of Canon and against
                                                                                             7   Defendant MITOCOLOR INC. (“Mitocolor”); and
                                                                                             8          ORDERED that, effective as of the date this default judgment and
                                                                                             9   permanent injunction is entered by the Court and continuing until the expiration of
                                                                                            10   the last to expire of U U.S. Patent Nos. 8,565,649 (the “’649 patent”); 9,354,551
                                                                                            11   (the “’551 patent”); 9,753,402 (the “’402 patent”); 10,209,667 (the “’667 patent”);
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   10,289,060 (the “’060 patent”); 10,289,061 (the “’061 patent”); 10,295,957 (the
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   “’957 patent”); 10,488,814 (the “’814 patent”); 10,496,032 (the “’032 patent”);
                                                                             310-229-9900




                                                                                            14   10,496,033 (the “’033 patent”); 10,514,654 (the “’654 patent”); 10,520,881 (the
                                                                                            15   “’881 patent”); and 10,520,882 (the “’882 patent”), Mitocolor and its subsidiaries,
                                                                                            16   affiliates, officers, directors, agents, servants, employees, successors, and assigns,
                                                                                            17   and all other persons and organizations in active concert or participation with it, be
                                                                                            18   permanently enjoined and restrained from engaging in any of the following
                                                                                            19   activities:
                                                                                            20          (a)    making, using, selling, or offering for sale in the United States, or
                                                                                            21   importing into the United States, (i) any of the accused toner supply containers
                                                                                            22   identified in the complaint in this action (i.e., toner supply containers bearing the
                                                                                            23   designations 08-08.9-ITCANON3325K1, 08-08.9-ITCANON3325C1, 08-08.9-
                                                                                            24   ITCANON3325M1, and 08-08.9-ITCANON3325Y1), (ii) any other toner supply
                                                                                            25   container that has a pump as depicted in attached Appendix A and falls within the
                                                                                            26   scope of at least one claim of at least one of the ’649, ’551, and ’402 patents,
                                                                                            27   (iii) any other toner supply container that has a track as depicted in attached
                                                                                            28   Appendix B and falls within the scope of at least one claim of at least one of the

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                                                                                                                [PROPOSED] DEFAULT JUDGMENT AND PERMANENT INJUNCTION
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                                                                                             1   ’667, ’060, ’061, ’957, ’814, ’032, ’033, ’654, ’881, and ’882 patents, and (iv) any
                                                                                             2   other toner supply container that is not more than colorably different from (i), (ii),
                                                                                             3   or (iii) and falls within the scope of at least one claim of at least one of the ’649,
                                                                                             4   ’551, ’402, ’667, ’060, ’061, ’957, ’814, ’032, ’033, ’654, ’881, and ’882 patents;
                                                                                             5          (b)    otherwise directly infringing, contributorily infringing, or inducing
                                                                                             6   infringement of any of the claims of the ’649, ’551, ’402, ’667, ’060, ’061, ’957,
                                                                                             7   ’814, ’032, ’033, ’654, ’881, or ’882 patents with respect to (i) any of the accused
                                                                                             8   toner supply containers identified in the complaint in this action (i.e., toner supply
                                                                                             9   containers bearing the designations 08-08.9-ITCANON3325K1, 08-08.9-
                                                                                            10   ITCANON3325C1, 08-08.9-ITCANON3325M1, and 08-08.9-ITCANON3325Y1),
                                                                                            11   (ii) any other toner supply container that has a pump as depicted in attached
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Appendix A and falls within the scope of at least one claim of at least one of the
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   ’649, ’551, and ’402 patents, (iii) any other toner supply container that has a track
                                                                             310-229-9900




                                                                                            14   as depicted in attached Appendix B and falls within the scope of at least one claim
                                                                                            15   of at least one of the ’667, ’060, ’061, ’957, ’814, ’032, ’033, ’654, ’881, and ’882
                                                                                            16   patents, and (iv) any other toner supply container that is not more than colorably
                                                                                            17   different from (i), (ii), or (iii) and falls within the scope of at least one claim of at
                                                                                            18   least one of the ’649, ’551, ’402, ’667, ’060, ’061, ’957, ’814, ’032, ’033, ’654,
                                                                                            19   ’881, and ’882 patents; and
                                                                                            20          (c)    assisting, aiding, or abetting any other person or business entity in
                                                                                            21   engaging in or performing any of the activities referred to in subparagraphs (a) and
                                                                                            22   (b) above.
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                                                                                            24   SO ORDERED:
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                                                                                            26   Dated:
                                                                                                                                                  Honorable James V. Selna
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                                                                                                                                                  United States District Court Judge
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                                                                                                                [PROPOSED] DEFAULT JUDGMENT AND PERMANENT INJUNCTION
                                                                                       Case 2:21-cv-02074-JVS-PVC   Document 21-5    Filed 07/30/21   Page 4 of 6 Page ID
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                                                                                             1                               APPENDIX A

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                                                                                             3              pump
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                              Pump Expanded
                                                                             310-229-9900




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                                                                                            15               pump
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                                                                                                                           Pump Compressed
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                                                                                                          [PROPOSED] DEFAULT JUDGMENT AND PERMANENT INJUNCTION
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                                                                                             1                               APPENDIX B

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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                Track on One Side of Toner Supply Container
                                                                             310-229-9900




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                                                                                                            Track on Opposite Side of Toner Supply Container
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                                                                                                          [PROPOSED] DEFAULT JUDGMENT AND PERMANENT INJUNCTION
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                                                                                                            Track Viewed from Side of Toner Supply Container
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 90067
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                                                                                                          [PROPOSED] DEFAULT JUDGMENT AND PERMANENT INJUNCTION
